Case 2:03-CV-02958-SHI\/|-tmp Document 49 Filed 06/10/05 Page 1 of 2 Page|D 71

 

 

IN THE UN:TED sTATEs DISTRICT COURT IWEDEW.t
FoR THE WESTERN DISTRICT oF TENNESSEE
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Plaintiff,
vs. NO. 2 03cv2958~Ma
cOCAscoLA BOTTLING coMPANY
OF MEMPHIS,

Defendant.

JUDGMENT

Decision by Court. This action came for consideration
before the Court. The issues have been duly considered and a
decision has been rendered.

IT IS ORDERED AND ADJUDGED that this action is dismissed
with prejudice in accordance With the Consent Order of Dismissal
With Prejudice docketed June 9, 2005. The clerk’s statutory
costs are adjudged against the defendant.

APPROVE:JV/Cr

SAMUEL H' MAYS' JR' B.OBEHT R.D!TROUO
UNITED sTATEs DIsTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 49 in
case 2:03-CV-02958 Was distributed by faX, mail, or direct printing on
June 14, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

